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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

SANTIGO SANDERS, on behalf of
behlBLANCA
Himself     andDELEON,
                  othersELVIA
                           similarly               CIVIL ACTION FILE NO.
situationedYOLANDA
Situated,                   PERES,
                                                   3:14-cv-163-TCB




          Plaintiff,

               v.

ANTHONY ALAIMO, ANTHONY
ALISTRAND  DEVELOPMENT
ALAIMO, INC; VALOR HOMES 521
LLC and VALOR PLUMBING LLC,

          Defendants.


             DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT


      Anthony Alaimo (“Alaimo”), Anthony Alaimo, Inc. (“AAI”), Valor Homes

521 LLC (“VH”) and Valor Plumbing LLC (“VP”) (collectively, “Defendants”), by

and through their undersigned counsel, hereby move for summary judgment on all

claims and as to all remedies sought by Plaintiff against all Defendants in this

action.

      Defendants specifically move for judgment to be entered in their favor and

against Plaintiff, Santigo Sanders, as follows:
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      1. That there is no overtime pay owed to plaintiff, Santigo Sanders, by

          defendants;

      2. That there are no facts to support a collective action for unpaid overtime

          among Defendants’ employees;

      3. That Plaintiff has no employment relationship with Defendants Valor

          Homes 521, LLC, Valor Plumbing, LLC or Anthony Alaimo and, thus,

          they are not proper Defendants and are due to be dismissed from this

          action;

      4. That there is no basis for an award of liquidated damages under the FLSA

          against Defendants; and

      5. That there is no basis for an award of attorneys’ fees to Plaintiff under the

          FLSA.

      In support of this Motion, Defendants are submitting evidentiary materials

consisting of the following Exhibits (identified by letter):

       A. Affidavit of Anthony Alaimo (pdf image from Original).

       B. [Santigo] Time Card Correction Summary.

       C. Acknowledgment of Payment Letter.

       D. Letter from Alesha Warren dated October 30, 2014.

       Additionally, Defendants are filing in conjunction with this Motion their

Statement of Material Facts as to which There Is No Genuine Issue to Be Tried,



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and their Brief in support of their Motion.

      Based on all of the foregoing materials, Defendants respectfully pray that

their Motion for Summary Judgment be GRANTED, that all claims by Plaintiff

against all Defendants be DISMISSED WITH PREJUDICE, and that they be

afforded such other and further relief as the Court deems just and proper.

      Respectfully submitted, this 29 day of May, 2015.



                                      RICHELO LAW GROUP, LLC

                                       By: /S/ Thomas Richelo
                                         Thomas Richelo, Esq.
                                         Ga. State Bar No. 604425
                                         Attorneys for Defendants

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                         CERTIFICATE OF SERVICE

      I hereby certify that on May 29, 2015, I electronically filed the following

pleading with the Clerk of Court using the CM/ECF system:

         DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT


      And further, as to the pro se plaintiff, who has not registered to receive

service from the Court using the CM/ECF system, I certify that the foregoing is

being served by certified mail, return receipt requested, with adequate postage

affixed thereto to assure delivery to the following:

                                 Santigo Sanders
                               2085 Freeman Road
                              Jonesboro, GA 30236

                                                        /s/ Thomas Richelo
                                                        Thomas Richelo
                                                        Ga. Bar No. 604425
                                                        trichelo@richelolaw.com




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